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                                                 EXHIBIT B

                 EXPENSE SUMMARY BY SNR DENTON US LLP FOR THE
                 PERIOD OF JANUARY 1, 2010 THROUGH MARCH 6, 2012

EXPENSES                                                                            AMOUNTS
Airfare                                                                                $312.30
Computerized Research                                                                  $960.02
Delivery                                                                              $3,143.94
Document Reproduction                                                                 $3,397.50
Ground Transportation                                                                  $810.86
Lexis                                                                                  $176.57
Lodging                                                                                $500.00
Meals                                                                                    $74.74
Miscellaneous                                                                          $287.70
Outside Professional Services                                                        $11,399.10
Overnight Delivery                                                                     $478.03
Specialized Document Processing Services                                                $517.50
Teleconference Expenses                                                                $365.69
Westlaw                                                                                  $30.97
Total expenses previously requested during interim periods from                      $22,454.92
January 1, 2010 through March 6, 2012

Total Expenses allowed during the Final Fee Application Period of                      $17,064.57
January 1, 2010 through March 6, 2012                                       ($11,592.09 Allowed)
                                                                              ($5,472.48 Pending)
Total Expenses Sought for the Final Fee Application Period of                         $17,064.57
January 1, 2010 through March 6, 2012
